






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00730-CR






Roger Anthony Villarreal, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT OF COKE COUNTY

NO. 06-4122, HONORABLE ROY BLAIR, JUDGE PRESIDING




C O N C U R R I N G   O P I N I O N



		Springing from a single seed, this thin case turns on the detailed findings of fact
made&nbsp;by the diligent trial court informing us of the basis of the trial court's ruling.  See State
v.&nbsp;Cullen, 195&nbsp;S.W.3d 696 (Tex. Crim. App. 2006).  Based upon a review of the trial court's ruling
as expressed in its findings of fact and conclusions of law, and upon the legal analysis set forth in
a companion case to this one, Hamilton v. State, No. 03-06-00729-CR, 2007 Tex. App. LEXIS 7239
(Tex.&nbsp;App.--Austin Aug. 31, 2007, no pet. h.), I concur in the judgment.


						                                                                                    						Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Filed:   September 25, 2007

Do Not Publish


